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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA DIVISION
                              GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

        Plaintiff,

vs.                                                      CASE NO.1:94CR1009-MMP/AK

JOHN RICHARD KNOCK,

        Defendant.

                                     /

                            REPORT AND RECOMMENDATION


        This cause is before the Court on Defendant’s motion to vacate pursuant to §

2255. Doc. 1117.

        By prior R&R, the Court denied Defendant’s original motion to vacate, and that

decision is now pending appeal before the Eleventh Circuit. The instant motion,

claiming Defendant is actually innocent of the conviction on Count One, conspiracy to

distribute marijuana, based on a recent Eleventh Circuit case. This is similar to issues

raised in the original § 2255 motion.

        Defendant is clearly barred from seeking § 2255 relief at this time on his claims.

He was previously denied § 2255 relief and may not file a second or successive motion

under § 2255 without prior certification from the Eleventh Circuit. 28 U.S.C. § §
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2244(b)(3) & 2255. Even then, a second or successive motion will not be allowed

absent newly discovered evidence or “a new rule of constitutional law, made retroactive

to cases on collateral review by the Supreme Court, that was previously unavailable.” §

2255. Defendant has not sought or been granted leave by the appellate court to file a

second or successive motion to vacate, and thus, review is plainly foreclosed here at

this time.

       Even if the Court assumes this is merely supplemental authority for issues being

considered now at the court of appeals, the motion should be denied so that Defendant

may rightfully apprise the Eleventh Circuit of his position with regard to the conviction on

Count One.

       In light of the foregoing, it is respectfully RECOMMENDED:

       That Defendant’s motion to vacate pursuant to 28 U.S.C. § 2255, Doc. 1117, be

DENIED.

       IN CHAMBERS at Gainesville, Florida, this 27th          day of August, 2008.



                                          s/ A. KORNBLUM
                                          ALLAN KORNBLUM
                                          UNITED STATES MAGISTRATE JUDGE




                                NOTICE TO THE PARTIES

       A party may file specific, written objections to the proposed findings and
recommendations within 15 days after being served with a copy of this report and
recommendation. A party may respond to another party’s objections within 10 days after
being served with a copy thereof. Failure to file specific objections limits the scope of
review of proposed factual findings and recommendations.


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